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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:04CR337
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )                MEMORANDUM
                                              )                 AND ORDER
                                              )
TAMARA SHEFFIELD,                             )
                                              )
                     Defendant.               )

       This matter is before the Court on the Motions Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence (Filing Nos. 158, 160) filed by the Defendant, Tamara

Sheffield. Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United

States District Courts requires initial review of a § 2255 motion, and describes the initial

review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                  FACTUAL BACKGROUND

       Sheffield was originally sentenced on April 4, 2005, to six months imprisonment and

three years supervised release. (Filing No. 85.) Her supervised release was revoked, and

on March 3, 2008, she was sentenced in the supervised release matter to 24 months with

no supervision to follow. (Filing No. 155.) The Judgment was filed on March 4, 2008,

including recommendations to the Bureau of Prisons (“BOP”) that she be incarcerated as

close to Omaha, Nebraska, as possible and that she be given credit for time served in

federal custody. (Filing No. 155.) On May 22, 2008, and September 5, 2008, Sheffield

filed her motions under § 2255. On October 3, 2008, an Amended Judgment was filed
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adding a recommendation to the BOP that she participate in the BOP’s 500-hour

comprehensive drug treatment program or in a similar available drug program. A direct

appeal has not been filed following either the original or Amended Judgment in the

supervised release matter.

                                       DISCUSSION

       In her § 2255 motion, Sheffield raises the following matters: she asks to be

recommended for the 500-hour BOP comprehensive drug treatment program (Claim One);

she asks that she be credited for 34 additional days of time served (Claim Two); and she

asks to be placed closer to Omaha, Nebraska (Claim Three).

Drug Treatment Program

       The BOP determines a defendant’s eligibility for drug treatment programs depending

on factors including, but not limited to, appropriations and the defendant’s release date.

18 U.S.C. § 3621(e). The Court recommended participation in the BOP’s 500-hour

program. (Filing No. 161.)

Credit for Time Served

       18 U.S.C. § 3585 controls the date on which a federal sentence begins. Only the

BOP decides the date. United States v. Hayes, 535 F.3d 907, 910 (8th Cir. 2008) (citing

United States v. Wilson, 503 U.S. 329, 335 (1992)), petition for certiorari filed, __ U.S.L.W.

__ (U.S. Nov. 5, 2008) (No. 08-7215). The Court recommended to the BOP that Sheffield

receive credit for time served. (Filing Nos. 155, 161.)

Placement

       The BOP determines a defendant’s place of imprisonment taking into consideration

factors such as: the resources of the potential facilities; the nature of the offense; the

defendant’s history and characteristics; the sentencing court’s recommendations; and the

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Sentencing Commission’s policy statements.          18 U.S.C. § 3621(b).         The Court

recommended to the BOP that the Defendant be placed as close to Omaha, Nebraska, as

possible. (Filing Nos. 155, 161.)

                                     CONCLUSION

      All of the issues raised are matters within the discretion of the BOP. If these matters

are not resolved to the Defendant’s satisfaction, she should initiate any further action

through the BOP. These matters do not entitle the Defendant to relief under § 2255. The

Court concludes that under Rule 4(b) the Defendant’s § 2255 motion must be summarily

denied.

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motions Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Filing Nos. 158, 160);

      2.     Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motions, and the motions (Filing Nos. 158, 160) are summarily denied;

      3.     A separate Judgment will be issued denying the § 2255 motions; and

      4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at her last known address.

      DATED this 6th day of March, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




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